                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                            DOCKET NO. 3:95-cr-00178-4MOC

UNITED STATES OF AMERICA,                      )
                                               )
                                               )
                                               )
Vs.                                            )                        ORDER
                                               )
JOHNNY STACEY,                                 )
                                               )
                  Defendant.                   )



         THIS MATTER is before the court on defendant’s pro se Motion for Early Termination

of Supervision.    While 18 U.S.C. § 3583(e)(1) and Rule 32.1, Fed.R.Crim.P., do not place

restrictions on who may file a Motion for Early Termination, those requests are typically made

by the probation officer supervising the defendant. In this case, defendant has moved on his own

behalf and stated that he has had no problems on supervision and incurred no infractions during

his lengthy period of incarceration. The court has confirmed the lack of infractions while

incarcerated, which is commendable, but cannot confirm defendant’s record of compliance

without bringing in probation and the government. While the court would typically dismiss such

a claim in deference to a request made by a probation officer, the court will entertain this motion

as defendant’s prison record suggests that further consideration is appropriate. Having

considered defendant’s pro se motion and reviewed the pleadings, the court enters the following

Order.




                                                   1

         Case 3:95-cr-00178-MOC        Document 589        Filed 07/03/13      Page 1 of 2
                                           ORDER

       IT IS, THEREFORE, ORDERED that defendant’s pro se Motion for Early

Termination of Supervision (#588) is TAKEN UNDER ADVISEMENT, and the government

and probation shall file any response or report within 14 days.

             Signed: July 2, 2013




                                                2

      Case 3:95-cr-00178-MOC           Document 589        Filed 07/03/13   Page 2 of 2
